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                                       UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF NEW YORK

                                                       NOTICE
                                    1:19-cv-332 (FJS/CFH)
                  THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for removal
within sixty (60) days of filing this action.

The attached Civil Case Management Plan must be completed and filed with the clerk no later than seven (7)
days prior to the conference date referenced below.

CONFERENCE DATE/TIME: June 17, 2019, at 9:00 AM

CONFERENCE LOCATION: Albany, New York

BEFORE MAGISTRATE JUDGE: CHRISTIAN F. HUMMEL

CONTENTS:

        -        General Order #25 (Filing Order)

        -        Case Management Plan

        -        Case Assignment/Motion Schedules and Filing Locations

        -        Consent Form to Proceed before U.S. Magistrate Judge

NOTE: ALL CIVIL ACTIONS SHALL BE REFERRED INTO THE NORTHERN DISTRICT'S PILOT
MANDATORY MEDIATION PROGRAM EXCEPT THOSE CASES THAT HAVE BEEN
DESIGNATED AS EXEMPT UNDER SECTION 2.1 (A) OF GENERAL ORDER #47. If the ADR track
below has been checked, this case will be referred into the Mandatory Mediation Program. Counsel are directed to review the Pilot
Mandatory Mediation Plan prior to the Rule 16 Conference. Please refer to General Order #47 - Pilot Mandatory Mediation Program
which is available on the Court's website at www.nynd.uscourts.gov.



                                                         X ADR Track
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                                        UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF NEW YORK

                                                  GENERAL ORDER #25

                      I. PURPOSE                                 any other Rule or Statute which may govern service of
                                                                 process in a given action.
It is the policy of this court to help litigants resolve their
civil disputes in a just, timely and cost-effective manner.      B. Filing Proof(s) of Service: Proof(s) of service of
To that end, this court has adopted an Expense and Delay         process are to be filed with the clerk's office no later than
Reduction Plan in accordance with the Civil Justice              five (5) days after service of the complaint or notice of
Reform Act of 1990. This will tailor the level of                removal with a copy of this General Order.
individualized case management needs to such criteria as
case complexity, and the amount of time reasonably               C. Non Compliance with Sixty (60) Day Service
needed to prepare the case for trial.                            Requirement: In the event that the filing party cannot
                                                                 comply with the Sixty (60) day service requirement, that
                        II. SCOPE                                party shall immediately notify the assigned Magistrate
                                                                 Judge and request an adjournment of the initial Rule 16
This order applies to all civil cases filed in this court        case management conference date contained in the
except: multi-district litigation, case remanded from the        attached Civil Case Management Plan.
appellate court, reinstated and reopened cases, and cases
in the following Nature of Suit (NOS) categories                 If an adjournment of the conference date is granted, it
indicated on the JS44 Civil Cover Sheet: Prisoner                shall be the responsibility of the filing party to notify all
Petitioners (463,510-560), Forfeiture/Penalty (625,690),         parties to the action of the new date, time and location for
Bankruptcy Appeals (422,423), Social Security Appeals            the case management conference. Proof of service of such
(861-865), Contracts (only NOS 150,151,152,153, and              notice shall then be immediately filed with the clerk's
other contract actions which involve the collection of           office.
debts owed to the United States), and Real Property (only
NOS 220).                                                                     IV. ADDITIONAL PARTIES

*Note - When the Court deems it appropriate, Rule 16             Any party who, after the filing of the original complaint
Scheduling Conferences will be held in the above                 or notice of removal, causes a new party to be joined in
excepted actions.                                                the action shall promptly serve on that new party a copy
                                                                 of General Order 25 along with any additional Uniform
The Court has adopted the guidelines of civility as              Pretrial Scheduling Order that has been entered by the
outlined in the New York State Bar Association                   court.
Guidelines on Civility in Litigation, a copy of which is
available    on      the      courts      web-site    at                          V. REMOVED CASES
www.nynd.uscourts.gov.
                                                                 In cases removed to this court from a state court, the
                      III. SERVICE                               removing defendant(s) shall serve on the plaintiff(s) and
                                                                 all other parties, at the time of service of the notice of
A. Timing: When serving a Complaint or Notice of                 removal, a copy of this General Order with the attached
Removal, the filing party shall serve on all other parties a     materials. The filing of a motion for remand does not
copy of this General Order and the attached materials.           relieve the moving party of any obligation under this
Service of process should be completed within Sixty (60)         General Order unless the assigned judge or magistrate
days from the initial filing date. This expedited service is     judge specifically grants such relief.
necessary to fulfill the dictates of the Civil Justice Reform
Act Expense and Delay Reduction Plan of this court and                        VI. TRANSFERRED CASES
to ensure adequate time for pretrial discovery and motion
practice. However, in no event shall service of process be       The clerk shall serve a copy of this General Order on all
completed after the time specified in Fed. R. Civ. P. 4, or      parties that have appeared in any action transferred to this
                 Case 1:19-cv-00332-FJS-CFH Document 3 Filed 03/18/19 Page 3 of 15


district. The clerk shall set a return date for the initial Rule   B) Consent to Jury or Court Trial Before A United
16 case management conference on the form attached to              States Magistrate Judge:
the General Order. It shall be the obligation of the plaintiff     By written stipulation, the parties to any civil action may
or plaintiff's counsel to arrange for completion of the            elect to have a magistrate judge (instead of the assigned
attached Case Management Plan and to file the Plan with            Article III judge) conduct all proceedings in any civil
the clerk and to serve this General Order upon any party           case, including presiding over a jury or bench trial. A trial
who had not appeared in the action at the time of transfer.        before a magistrate judge is governed by the same
                                                                   procedural and evidentiary rules as trial before a district
Attorneys appearing in transferred cases are reminded of           judge. The right to appeal is automatically preserved to
their obligation to be properly admitted to this district in       the United States Court of Appeals under the same
accordance with Local Rule 83.1. Attorneys must also be            standards which govern appeals from an Article III judge.
registered for electronic filing. Refer to Section XII of this     Parties often consent to resolution of their civil disputes
General Order.                                                     by magistrate judge bench or jury trial because magistrate
                                                                   judges have less crowded calendars.
     VII. MATERIALS INCLUDED WITH THIS
           GENERAL ORDER PACKET                                                        IX: DISCOVERY

A)       Notice of Initial Rule 16 Case Management                 A. Discovery Motions: Prior to bringing a discovery
         Conference                                                dispute to a Magistrate Judge, the parties must confer in
B)       Civil Case Management Plan                                good faith in accordance with the provisions of Local
C)       Case Assignment Form                                      Rule 7.1(d). In addition, no non-dispositive or discovery
D)       Notice and Consent Form to Exercise of                    motions should be presented to the Court unless
         Jurisdiction by a United States Magistrate Judge          authorized by the Magistrate Judge after communication
                                                                   with the Magistrate Judges' chambers.
                 VIII. ADR PROGRAMS
                                                                   B. Filing Discovery: Parties are directed not to file
It is the mission of this court to do everything it can to         discovery material unless it is being filed in accordance
help parties resolve their disputes as fairly, quickly, and        with Local Rule 26.2.
efficiently as possible. The Court has adopted a
Mandatory Mediation Program - see General Order #47                For additional information on local requirements related
available on the Court's website. All civil cases that are         to depositions and discovery please refer to Section V. of
not exempt under General Order #47 and are filed after             the Local Rules of this court.
January 1, 2014, as well as all cases where a Rule 16
Conference is scheduled after January 1, 2014, will be                                   X. MOTIONS
placed into the Mandatory Mediation Program. The Court
may also refer other pending cases into the Mandatory              A. Motion Return Dates: Please refer to the attached
Mediation Program. The parties are directed to review the          case assignment form for a complete listing of the motion
Mandatory Mediation Plan requirements prior to the Rule            return dates for the judges and magistrate judges of this
16 Pretrial Conference. At the Rule 16 Pretrial                    court.
Conference, the assigned Magistrate Judge will set a
deadline for the completion of Mediation under General             For additional information on local requirements related
Order #47. The referral of a case to the Mandatory                 to motion practice, please refer to Local Rule 7.1.
Mediation Program does not delay or defer other dates
established in the Scheduling Order and has no effect on               XI. CASE MANAGEMENT CONFERENCE
the scheduled progress of the case toward trial.
                                                                   Except in actions exempted under Section II of this order,
A) Settlement Conferences:                                         or when otherwise ordered by the court, the parties shall,
The parties are advised that the court will honor a request        as soon as practicable, but no later than twenty-one (21)
for a settlement conference at any stage of the proceeding.        days before the Rule 16 conference, confer to jointly
A representative of the parties with the authority to bind         address each item contained in the attached Case
the parties must be present with counsel or available by           Management Plan packet. The completed plan is to be
telephone at any settlement conference.                            filed with the clerk not later than seven (7) days prior to
                                                                   the conference date. The NOTICE setting the date, time,
                                                                   and location for the initial Rule 16 conference with the
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court is included as part of this filing order. Mandatory      Consult the CM/ECF section of the courts web-site at
disclosures under Fed. R. Civ. P. 26(a) shall be exchanged     www.nynd.uscourts.gov for PACER registration,
at least seven (7) days prior to the conference date, unless   CM/ECF registration, CM/ECF training dates, and
the parties have obtained prior approval from the assigned     General Order #22.
Magistrate Judge to extend that deadline. The Civil
Justice Reform Act Plan of this court requires the court to                       REVISED GENERAL ORDER #25
set ''''early, firm'''' trial dates, such that the trial is                            Dated: June 23, 2016
scheduled to occur within eighteen (18) months after the
filing of the complaint, unless a judicial officer certifies                 s/
                                                                                         Hon. Glenn T Suddaby.
that (I) the demands of the case and its complexity make
                                                                                         Chief U.S. District Judge
such a trial date incompatible with serving the ends of
justice; or (II) that trial cannot reasonably be held within   - The 1/3/2010 revision added Magistrate Judge Andrew T. Baxter.
                                                               - The 4/18/2011 revision added U.S. District Judge Mae A. D'Agostino and Magistrate
such time because of the complexity of the case or the         Judge Victor E. Bianchini.
number or complexity of pending criminal cases.                - The 12/16/2011 revision reflects Hon. Gary L. Sharpe as Chief Judge.
                                                               - The 2/12/2012 revision added Magistrate Judge Thérèse Wiley Dancks.
                                                               - The 9/1/2012 revision added Magistrate Judge Christian F. Hummel.
             XII. ELECTRONIC FILING                            - The 10/1/2012 revision reflects the retirement of Senior Judge Neal P. McCurn.
                                                               - The 10/25/2012 revision includes information on Mandatory Mediation - See Gen. Order
                                                               #47.
As of January 1, 2004, all documents submitted for filing      - The 11/4/2013 revision includes changes to deadlines for mandatory disclosures under
                                                               Fed. Rule 26(a), and changes the date for the filing of the civil case management plan from
by attorneys admitted to practice in the Northern District     14 days prior to the conference to 7 days prior to the conference.
                                                               - The 12/29/2014 revision added U.S. District Judge Brenda K. Sannes.
of New York shall be filed electronically using the            - The 10/1/2015 revision reflects Hon. Glenn T. Suddaby as Chief Judge, added Magistrate
CM/ECF system. Refer to General Order #22 for                  Judge Daniel J. Stewart, and reflects the retirement of Hon. Randolph F. Treece.
                                                               - The 1/1/2016 revision reflects Hon. Gary L. Sharpe taking senior status.
procedures for filing documents electronically. Attorneys      - The 6/23/2016 revision relates to amended G.O. #47 Mandatory Mediation Program.
must be registered for both PACER and CM/ECF.
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                                CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

____________________________
 Andrea J. Nussinow

                                                                             No. 1:19-CV-332 FJS/CFH
   VS

County of Columbia, et al

____________________________

IT IS HEREBY ORDERED that, Pursuant to Rule16(b), Federal Rules of Civil Procedure, a status and
scheduling conference will be held in this case before the Honorable CHRISTIAN F. HUMMEL, United
States Magistrate Judge on June 17, 2019, at 9:00 AM at the United States Courthouse, at Room Number
441, Albany, New York.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to confer
in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below, no later than
twenty-one (21) days before the scheduled Rule 16 Conference. Following that Rule 26(f) meeting, a
report of the results of the conference, in the format set forth below, must be filed with the clerk no later
than seven (7) days prior to the scheduled Rule 16 conference with the Court. Matters which the Court
will discuss at the status conference will include the following: (insert a separate subparagraph as
necessary if parties disagree):

1) JOINDER OF PARTIES: Any application to join any person as a party to this action shall be made
on or before the _______ day of _________________, ___________.

2) AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall be
made on or before the _______ day of _________________, ___________.

3) DISCOVERY: All discovery in this action shall be completed on or before the _______ day of
_________________, ___________. (Discovery time table is to be based on the complexity of the
action)

4) MOTIONS: All motions, including discovery motions, shall be made on or before the _______ day of
_________________, ___________. (Non-Dispositive motions including discovery motions may only
be brought after the parties have complied with Section IX of General Order #25)
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5) PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready to
proceed to trial on or before the _______ day of _________________, ___________. It is anticipated that
the trial will take approximately _______ days to complete. The parties request that the trial be held in
_______________, N.Y. (The proposed date for the commencement of trial must be within 18
months of the filing date).

6) HAVE THE PARTIES FILED A JURY DEMAND: _____(YES) / _____(NO).

7) DOES THE COURT HAVE SUBJECT MATTER JURISDICTION? ARE THE PARTIES
SUBJECT TO THE COURT'S JURISDICTION? HAVE ALL PARTIES BEEN SERVED?




8) WHAT ARE THE FACTUAL AND LEGAL BASES FOR PLAINTIFF'S CLAIMS AND
DEFENDANT'S DEFENSES (INCLUDE COUNTERCLAIMS & CROSSCLAIMS, IF
APPLICABLE)?




9) WHAT FACTUAL AND LEGAL ISSUES ARE GENUINELY IN DISPUTE?




10) CAN THE ISSUES IN LITIGATION BE NARROWED BY AGREEMENT OR BY
MOTIONS? ARE THERE DISPOSITIVE OR PARTIALLY DISPOSITIVE ISSUES
APPROPRIATE FOR DECISION ON MOTION?




11) WHAT SPECIFIC RELIEF DO THE PARTIES SEEK? WHAT ARE THE DAMAGES
SOUGHT?
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12) DISCOVERY PLAN:

     A.      Mandatory Disclosures

     The parties will exchange the mandatory disclosures required under Rule 26(a)(1) at least
     seven (7) days prior to the date of the Rule 16 conference, unless they have obtained prior
     approval from the assigned Magistrate Judge to extend that deadline.


     B.      Subjects of Disclosure

     The parties jointly agree that discovery will be needed to address the following subjects:




     C.      Discovery Sequence

     Describe the parties' understanding regarding the timing of the discovery, and state whether
     it is anticipated that discovery will be phased to address different issues in stages.




     D.      Written Discovery

     Describe the written discovery demands which the parties contemplate serving under Rules
     33, 34 and 36, including when they will be promulgated, that areas to be covered, and
     whether there is any need for any party to exceed the number of interrogatories permitted
     under Rule 33.
     Case 1:19-cv-00332-FJS-CFH Document 3 Filed 03/18/19 Page 8 of 15


E.      Depositions

Set forth the parties' expectations regarding depositions, including the approximate number
to be taken, their location, a general description of the deponents, and an indication of
whether any non-party fact depositions are anticipated.




F.      Experts

Set forth the parties' expectations regarding the retention of experts, and identify any
particular issues to be addressed by the court concerning the retention and exchange of the
information regarding experts, including whether the parties seek a variance from the
expert disclosure requirements of the form uniform pretrial scheduling order typically
issued by the court (i.e., initial expert disclosure at least ninety days, responsive expert
disclosures at least forty-five days, and rebuttal reports due at least thirty days, before the
close of discovery).




G.      Electronic Discovery

Set forth the parties' understanding and expectations regarding discovery of electronically
stored information. This description should include any agreements reached with respect
to the retention of electronically stored information and the manner in which it will be
produced, if requested. The parties should also identify any agreements regarding the
manner in which electronically stored information subject to claims of privilege or work
product protection will be handled, and whether a court order will be requested, either on
stipulation or otherwise, to address this issue. If an agreement has been reached on the entry
of such an order, provide a brief description of the provisions which will be included in a
proposed order.
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       H.      Protective Orders

       If the parties anticipate requesting a protective order from the court pursuant to Rule 26(c),
       describe the basis for the request and nature of the proposed protective order.




       I.      Anticipated Issues Requiring Court Intervention

       Provide a brief description of any discovery related issues which, the parties reasonably
       anticipate, may require court intervention.




13) IS IT POSSIBLE TO REDUCE THE LENGTH OF TRIAL BY STIPULATIONS, USE OF
SUMMARIES OR STATEMENTS, OR OTHER EXPEDITED MEANS OF PRESENTING EVIDENCE?
IS IT FEASIBLE AND DESIRABLE TO BIFURCATE ISSUES FOR TRIAL?




14) ARE THERE RELATED CASES PENDING BEFORE THE JUDGES OF THIS COURT?




15) IN CLASS ACTIONS, WHEN AND HOW WILL THE CLASS BE CERTIFIED?




16) WHAT ARE THE PROSPECTS FOR SETTLEMENT? Please circle below the prospect for
settlement:

                         1-----2-----3-----4-----5-----6-----7-----8-----9-----10
                      (VERY UNLIKELY) →→→→→→→→→→(LIKELY)

     CANNOT BE EVALUATED PRIOR TO __________________________ (DATE)
             Case 1:19-cv-00332-FJS-CFH Document 3 Filed 03/18/19 Page 10 of 15


HOW CAN SETTLEMENT EFFORTS BE ASSISTED?


(Do not indicate any monetary amounts at this time, settlement will be explored by the Magistrate Judge at the
time of the initial status conference)

COMPLETE QUESTION 17 ONLY IF YOUR FILING ORDER COVER SHEET WAS CHECKED AS AN
ADR TRACK CASE - Subject to Mandatory Mediation under General Order #47.

17) IF YOUR CASE WAS SELECTED AS A QUALIFYING MANDATORY MEDIATION CASE,
CONFIRM THAT YOU HAVE:

       A.     Reviewed General Order #47?        YES / NO

       B.     Reviewed the List of Court Approved Mediators available on the NDNY website?               YES / NO

       C.     Prepared to discuss with the Court, at the conference, whether your case should be opted
              out of the program?        YES / NO

       D.     Discussed the time frame needed to complete Mandatory Mediation?       YES / NO

******************************************************************************************
Pursuant to Fed. R. Civ. P. 26(f) a meeting was held on __________ at ____________________ and was attended
by:                                                       (Date)             (Place)
____________________________ for plaintiffs(s)

____________________________ for defendant(s) _______________________________________________
                                                                                                  (party name)
____________________________ for defendant(s) _______________________________________________
                                                                                                  (party name)
At the Rule 16(b) conference, the Court will issue an order directing the future proceedings in this action. The
parties are advised that failure to comply with this order may result in the imposition of sanctions pursuant to
Federal Rules of Civil Procedure 16(f).

Please detach this case management plan form and file electronically with the clerk no later
than seven (7) days in advance of the conference date.
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                                CASE ASSIGNMENT FORM

                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


CIVIL ACTION NUMBER ___1:19-CV-332, FJS/CFH___

ALL CORRESPONDENCE AND FILINGS SHOULD BEAR THE INITIALS OF THE ASSIGNED JUDGE
AND MAGISTRATE JUDGE IMMEDIATELY FOLLOWING THE CIVIL ACTION NUMBER.
(IE: CIVIL ACTION NO 5:11-CV-0123, NAM-DEP)

DOCUMENTS SHOULD BE FILED IN ACCORDANCE WITH GENERAL ORDER #22.

      ACTION ASSIGNED TO THE JUDGE AND MAGISTRATE JUDGE CHECKED BELOW:

                                                                        INITIALS
              X         SENIOR JUDGE FREDERICK J. SCULLIN, JR.            (FJS)

              X         MAGISTRATE JUDGE CHRISTIAN F. HUMMEL                    (CFH)
__________________________________________________________________________________________

                               PRO SE LITIGANTS:
         SEND ALL ORIGINAL PAPERS TO THE CLERK'S OFFICE LISTED BELOW:

                              Clerk, U.S. District Court
                              Federal Building & Courthouse
                              P.O. Box 7367
                              Syracuse NY 13261-7367

                  All papers filed with the Court must conform to Local Rule 10.1
__________________________________________________________________________________________

                                      ~ COUNSEL ~

             ALL DOCUMENTS SHALL BE FILED ELECTRONICALLY
                     ON THE COURT'S CM/ECF SYSTEM

                PLEASE REFER TO GENERAL ORDER #22
       FOR PROCEDURES FOR FILING DOCUMENTS ELECTRONICALLY
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ALL NON-DISPOSITIVE MOTIONS ARE TO BE MADE RETURNABLE ON A SUBMIT BASIS BEFORE
THE ASSIGNED MAGISTRATE JUDGE. *PLEASE REFER TO LOCAL RULE 7.1(b)1.* ALL MOTIONS
FILED AND MADE RETURNABLE BEFORE MAGISTRATE JUDGES WILL BE TAKEN ON A
SUBMIT BASIS UNLESS: THE PARTIES REQUEST ORAL ARGUMENT AND/OR THE COURT
DIRECTS THE PARTIES TO APPEAR FOR ORAL ARGUMENTS, PROVIDED, HOWEVER, THAT
MAGISTRATE JUDGE DAVID E. PEEBLES REQUIRES ORAL ARGUMENT ON ALL MOTIONS UNLESS
THE COURT DIRECTS OTHERWISE.




                                 For more specific schedules please visit our website at:
                                               www.nynd.uscourts.gov


                                      MONTHLY MOTION SCHEDULES


     SENIOR JUDGE FREDERICK J.                                        MAGISTRATE JUDGE CHRISTIAN F. HUMMEL
                                                                      9:30 A.M. - 3RD THURSDAY OF EACH MONTH AT
            SCULLIN, JR.                                             ALBANY. No oral argument on scheduled motion return
   REGULAR MOTION DATES, as follows:                                 date, unless Judge Hummel's chambers sua sponte directs
   2ND FRIDAY OF EACH MONTH IN SYRACUSE - Civil                         or grants the request of any party for oral argument.
      motions at 10:00 AM, Criminal motions at 11:00 AM
4TH FRIDAY OF EACH MONTH IN ALBANY - Civil motions
          at 10:00 AM, Criminal motions at 11:00 AM
 All civil motions will be taken ON SUBMIT unless otherwise
  notified by the Court. Any request for oral argument must be
submitted to the Court, in writing, no later than 14 days prior to
   the motion return date. Argument will be held on Criminal
                             motions.
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                                         CONSENT TO THE EXERCISE
                               OF CIVIL JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636(c), you are hereby notified that the United States Magistrate
Judges of this district court, in addition to their other duties, may, upon consent of all the parties in a civil case, conduct any
or all proceedings in the case, including a jury or non jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States Magistrate Judge for
disposition is entirely voluntary and should be indicated by counsel endorsing the attached consent form for the plaintiff(s)
and defendant(s). If the form is executed by all counsel for the parties (or by the parties if appearing pro se), it should be
communicated solely to the clerk of the district court. ONLY if all the parties to the case consent to the reference to a
magistrate judge will either the judge or magistrate judge to whom the case has been assigned be informed of your decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar requirements of the court.
Accordingly, the district judge to whom your case is assigned must approve the reference of the case to a magistrate judge
for disposition.

In accordance with 28 U.S.C. Section 636(c) (3), an appeal from a judgment entered by a magistrate judge will be taken to
the United States Court of Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a
district court. See Also L.R. 72.2(b)(5).




        Copies of the consent form are available in any office of the clerk of the court and on the court webpage at
                                                 www.nynd.uscourts.gov




                **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**
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                                             UNITED STATES DISTRICT COURT
                                                           for the
                                                Northern District of New York



Andrea J. Nussinow

                            v.                                                       Civil Action NO.: 1:19-CV-332 (FJS/CFH)

County of Columbia, et al


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

           Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all proceedings
in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then be appealed
directly to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this authority only
if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved
with your case.

        Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge conduct all
proceedings in this case including the trial, the entry of a final judgment, and all post-trial proceedings.

         Parties' printed names                    Signatures of parties or attorneys                            Dates


__________________________________             __________________________________             __________________________________

__________________________________             __________________________________             __________________________________

__________________________________             __________________________________             __________________________________

__________________________________             __________________________________             __________________________________


                                                         REFERENCE ORDER

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order the entry of a final
judgment in accordance with 28 U.S.C. §636(c) and Fed. R. Civ. P. 73.

Date: __________________                                                   __________________________________________________
                                                                                         District Judge's signature

                                                                           __________________________________________________
                                                                                         Printed name and title


NOTE: Return this form to the clerk of the court only if you are consent to the exercise of jurisdiction by a United States magistrate
      judge. Do not return this form to a judge.
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                       NOTICE TO PARTIES OF COURT-DIRECTED
                         MANDATORY MEDIATION PROGRAM


You are receiving this Notice because your case has been referred into the Court's Mandatory
Mediation Program.

Counsel are directed to carefully review the Mandatory Mediation Plan and the requirements
contained therein (General Order #47), prior to the Rule 16 conference.

All inquiries regarding the Pilot Mandatory Mediation Program should be directed to:

                                       Nicole Eallonardo
                                 ADR Program Administrator
                                      U.S. District Court
                              James M. Hanley Federal Building
                                        P.O. Box 7367
                                     100 S. Clinton Street
                                  Syracuse, New York 13261
                                   Telephone: 315-234-8603
                         email: Nicole_Eallonardo@nynd.uscourts.gov
